Case 2:05-cr-20126-.]PI\/| Document 27 Filed 07/22/05 Page 1 of 3 Page|D 32

IN THE UNITED STATES DISTRICT cOURT HLED BY ~4{@9-0-

 

FoR THE wESTERN DISTRICT oF TENNESSE
wEsTERN DIVISION lia5~»'UL 22 PH |= 59
CLE-`K, U.S E§STF§CT'... m
UNITED STATES oF AMERICA \W/UQF?§§.§§EMPHS
Plaintiff,
v. Criminal No. 052 20'26 Ml

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LE OlAJ/`C €WM ) (60-Day Continuance)

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CON'I'INUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the August
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, Sentember 23. 2005, with trial to take place
on the October, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through October 14, 2005. Agreed in

open court at report date this 22nd day of July, 2005.

This document entered on the docket Sheetj:rl compliance
With Ru[e 55 and/orSQ(b) FRCrP on ’ ._)

C27

Case 2:05-cr-20126-.]PI\/| Document 27 Filed 07/22/05 Page 2 of 3 Page|D 33

so oRDERED this 22nci day of July, 2005.

Q§~€ m CQQ
JON PHIPPS MC'CALLA
UN ED S'I'A'I'ES DISTRICT JUDGE

M
Assistant United States Attorney

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M\

Counsel for Defendant(s)

 

 

 

 

   

UNITED sTATE DRISTIC COURT - WESTER D's'TRCT oFTENNESSEE

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This notice confirms a copy of the document docketed as number 27 in
case 2:05-CR-20126 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

 

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Honcrable J on McCalla
US DISTRICT COURT

